Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 1 of 24




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                                        22-cv-05832-BLF
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 2 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 3 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 4 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 5 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 6 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 7 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 8 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 9 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 10 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 11 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 12 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 13 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 14 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 15 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 16 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 17 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 18 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 19 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 20 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 21 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 22 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 23 of 24
Case 5:22-cv-05832-BLF Document 1 Filed 10/07/22 Page 24 of 24
